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PS
UN|TED STATES D|STR|CT COURT
WESTERN D|STR|CT OF NEW YORK

 

TYQUAN JOHNSON,

 

P|aintiff,

-v- 17-CV-6490CJS
ORDER
ROCHESTER POL|CE DEPART|V|ENT,
OFF|CER #2279,

Defendants.

 

|NTRODUCT|ON

P|aintiff, quuan Johnson, a prisoner confined at the Clinton Correctiona| Facility,
filed this action pro se seeking relief under 42 U.S.C. § 1983. Docket No. 1. Before the
Court is P|aintiff’s Amended Comp|aint (“Amended Comp|aint”). Docket No. 5. P|aintiff
alleges that he was subjected to excessive force, false arrest, harassment, unreasonable
search and seizure, defamation, and that he was deprived of due process, as more
particularly set forth in the Comp|aint. For the reasons explained below, P|aintiff’s
excessive force claims may proceed to service, while the remaining claims must be
dismissed pursuant to 28 U.S.C. §§ 1915(e)(2)(B) and 1915A(a) forfailure to state a claim
on which relief may be granted

D|SCUSS|ON

Sections 1915(e)(2)(B) and 1915A(a) of 28 U.S.C. require the Courtto conduct an
initial screening of this Comp|aint. ln evaluating the Comp|aint, the Court must accept as
true a|| of the factual allegations and must draw all inferences in P|aintiff’s favor. See

Larkin v. Savage, 318 F.3d 138, 139 (2d Cir. 2003) (per curiam); King v. S/'mpson, 189

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F.3d 284, 287 (2d Cir. 1999). While “a court is obliged to construe [pro se] pleadings
|iberal|y, particularly when they allege civil rights violations,” McEach/'n v. McGuinnis, 357
F.3d 197, 200 (2d Cir. 2004), even pleadings submitted pro se must meet the notice
requirements of Ru|e 8 of the Federa| Rules of Civi| Procedure. Wynder v. McMahon,
360 F.3d 73 (2d Cir. 2004). “Specific facts are not necessary,” and the plaintiff “need only
give the defendant fair notice of what the . . . claim is and the grounds upon which it rests.”
Er/'ckson v. Pardus, 551 U.S. 89, 93, (2007) (quoting Be//Atl. Corp. v. Twombly, 550 U.S.
544, 555 (2007) (interna| quotation marks and citation omitted); see also Boykin v.
Keycorp, 521 F.3d 202, 213 (2d Cir. 2008) (discussing pleading standard in pro se cases
after Twomb/y - “even after Twombly, dismissal of a pro se claim as insufficiently pleaded
is appropriate only in the most unsustainab|e of cases.”).

P|aintiff brings this action pursuant to 42 U.S.C. § 1983. "To state a valid claim
under 42 U.S.C. § 1983, the plaintiff must allege that the challenged conduct (1) was
attributable to a person acting under color of state law, and (2) deprived the plaintiff of a
right, privilege, or immunity secured by the Constitution or laws of the United States."
Whalen v. County ofFu/ton, 126 F.3d 400, 405 (2d Cir. 1997) (citing Eag/eston v. Guido,
41 F.3d 865, 875-76 (2d Cir.1994)).

P|aintiff’s A||egations

P|aintiff alleges that on March 9, 2016 he was “i||egally stopped, harassed, chased
then beat[en] by Officer #2279 & several other officers.” Amended Comp|aint, p. 5.
Specifically, Johnson alleges that as he walked “in the South Avenue area", Officer#2279
pulled alongside and shouted for him to stop. ld. P|aintiff continued walking, and ran

when the Officer exited his vehic|e. P|aintiff stopped among a group of people standing

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nearby and pulled out his phone. When he observed several officers approach, “l stopped
and lay flat on my stomach with my hands out” and inquired why he was being chased.
ld. “Before l could finish ask[ing] my question l was kicked in the back of my head” and
punched and “kicked from everywhere.” P|aintiff was treated at a hospital and given a
leg brace. ld. at 6. P|aintiff alleges that he was charged with a Robbery which he did not
commit, that he was held in custody for “several days” and that seven months later the
charges were dismissed /d. at 7. He presents claims of “fa|se arrest, excessive force,
due process, harassment, search & seizure, [assassination] of character.” ld.
P|aintiff’s C|aims

A police officer’s “application of force is excessive, in violation of the Fourth
Amendment, if it is objectively unreasonable ‘in light of the facts and circumstances
confronting theml without regard to their underlying intent or motivation.’ ” Maxwell v City
of New York, 380 F3d 106, 108 (2d Cir 2004) (citing Graham v. Connor, 490 U.S. 386,
397 (1989)). P|aintiff’s allegations of excessive force, presumed true at this stage of the
proceedings, are sufficient to warrant service and an answer.
False Arrest

“A § 1983 claim for false arrest, resting on the Fourth Amendment right of an
individual to be free from unreasonable seizures, including arrest without probable cause,
is substantially the same as a claim for false arrest under New York law.” Weyant v. Okst,
101 F.3d 845, 852 (2d Cir. 1996) (citations omitted). Under New York law, “a plaintiff
claiming false arrest must show, inter alia, that the defendant intentionally confined him
without his consent and without justification." /d. Justification may be established by

showing that there was probable cause to arrest, and thus probable cause “is a complete

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defense to an action for false arrest, whether that action is brought under state law or
under § 1983.” ld.

ln general, probable cause to arrest exists when the officers

have knowledge or reasonably trustworthy information of facts

and circumstances that are sufficient to warrant a person of

reasonable caution in the belief that the person to be arrested

has committed or is committing a crime. The question of

whether or not probable cause existed may be determinable

as a matter of law if there is no dispute as to the pertinent

events and the knowledge of the officers or may require a trial

if the facts are in dispute.
Weyant, 101 F.3d. at 852. (internal citations omitted). lt is incumbent upon P|aintiff to
plead and demonstrate the lack of probable cause. See, e.g., Jaegly v. Couch, 439 F.3d
149, 152 (2d Cir. 2006). Here, while P|aintiff alleges the charges were dismissed after
seven months, his claim fails because he has not alleged facts sufficient to support an
inference that there was no probable cause forthe arrest. P|aintiff provides no information
concerning the nature of or basis for the dismissal, nor of the proceedings which required
seven months to effectuate that dismissal P|aintiff has set forth no factual allegations
which would give rise to an inference that he was arrested without probable cause.
Therefore, this claim must be dismissed with prejudice.
Defamation

P|aintiff claims that Defendants “beat me then [assassinated] my character by

placing me all over the news with someone l never even set eyes on.” The Court
generously construes this to raise a claim of defamation. “Defamation by a state actor
does not amount to a deprivation of liberty or property within the meaning of the

Fourteenth Amendment, unless accompanied by some interest other than mere loss of

reputation.” Ba/ent/`ne v. Tremblay, 554 Fed. App’x 58, 60 (2d Cir. 2014) (Summary

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Order) (citing Pau/ v. Davis, 424 U.S. 693, 711 (1976)) (internal quotation marks omitted).
To establish the so-called “stigma plus,” a plaintiff must allege two elements: (1) “the
utterance of a statement sufficiently derogatory to injure his or her reputation, that is
capable of being proved false, and that he or she claims is false,” plus (2) “a material
state-imposed burden or state-imposed alteration of the plaintiffs status or rights.”
Sada//ah v. City of Utica, 383 F.3d 34, 38 (2d Cir. 2004) (internal citations and quotation
marks omitted). P|aintiff has failed to set forth any allegations which would support
“stigma-plus,” and thus his defamation claim must be dismissed with prejudice.
Other C|aims

The Court can discern no basis for Plaintiff’s claims of “due process, harassment,
search & seizure” beyond the excessive force claims which are going forward and the
false arrest claims which are dismissed with prejudice. To the extent that P|aintiff
intended these to raise additional, distinct claims, they are therefore dismissed with
prejudice
Officer #2279

ln his Comp|aint, P|aintiff lists as Defendant Officer #2279 who was involved in his
arrest on l\/larch 9, 2016. Pursuant to Va/entin v. Dinkins, 121 F.3d 72 (2d Cir. 1997) (per
curiam), the Court requests that the City of Rochester Corporation Counsel’s Office
ascertain the full name of this John Doe Defendant P|aintiff seeks to sue. The City of
Rochester Corporation Counsel’s Office is also requested to provide the address where
the Defendant can currently be served. The City of Rochester Corporation Counsel’s

Office need not undertake to defend or indemnify this individual at this juncture. This

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Order merely provides a means by which P|aintiff may name and properly serve the
Defendant as instructed by the Second Circuit in Va/entin. v

The City of Rochester Corporation Counsel’s Office is hereby requested to
produce the information specified above regarding the identities of the John Doe
Defendant by 35 days from the date of this Order. Once this information is provided,
P|aintiff’s Complaint shall be deemed amended to reflect the full name of the Defendant
in place of foicer #22279 and service is directed.

Defendant Rochester Police Dept.

While P|aintiff has named the Rochester Police Department as a Defendant to this
action, the real party in interest is the City of Rochester. The Court will therefore substitute
the City of Rochester in place of the originally named Defendant, the Rochester Police
Department. See Warren v. Westchester County Jail, 106 F.Supp.2d 559, 561 n. 1
(S.D.N.Y. 2000) (noting that in prisoner's section 1983 action, the correct defendant is
Westchester County, not Westchester County Jail); see generally Cortlandt St. Recove)y
Corp. v. He/las Telecomm., 790 F.3d 411, 421 (2d Cir. 2015) (discussing substitution of
the real party in interest).

ORDER

 

lT lS HEREBY ORDERED that all false arrest, due process and defamation claims
are dismissed with prejudice;

FURTHER, that the C|erk of Court is directed to substitute the City of Rochester
as Defendant in place of the Rochester Police Department;

FURTHER, that the Clerk of Court is directed to cause the United States l\/larshal

Service to serve copies of the Summons, Complaint and this Order upon the City of

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Rochester, and Defendant Officer #2279, once identified, without P|aintiff’s payment
therefor, unpaid fees to be recoverable if this action terminates by monetary award in
P|aintiff’s favor;

FURTHER, that pursuant to 42 U.S.C. § 1997e(g)l the Defendants are directed to

respond to the Comp|aint.

 

 

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